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                                                                              U.S. DISTRICT COURT
                                                                                  N.D. OF ALABAMA


                 IN THE UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ALABAMA
                          SOUTHERN DIVISION


ALABAMA STATE CONFERENCE OF
THE NAACP, et al.,

                    Plaintiffs,
                                           Civil Action No. 2:24-cv-420-RDP
           v.                              Chief Judge R. David Proctor

STEVE MARSHALL, in his official
capacity as Alabama Attorney General, et
al.,

                   Defendants.



   STATEMENT OF INTEREST OF THE UNITED STATES OF AMERICA
       REGARDING SECTION 208 OF THE VOTING RIGHTS ACT
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                            INTEREST OF THE UNITED STATES

       The United States respectfully submits this Statement of Interest pursuant to 28 U.S.C.

§ 517, which authorizes the Attorney General “to attend to the interests of the United States in a

suit pending in a court of the United States.” This case presents important questions regarding

the interpretation of Section 208 of the Voting Rights Act, 52 U.S.C. § 10508. Congress has

vested the Attorney General with authority to enforce Section 208 of the Voting Rights Act on

behalf of the United States. 52 U.S.C. §§ 10307(a), 10308(d). Accordingly, the United States

has a substantial interest in ensuring the proper interpretation of Section 208. The United States

takes no position on any factual disputes or any other legal questions in this case.

                                        INTRODUCTION

       Section 208 of the Voting Rights Act provides that voters with disabilities or inability to

read or write are entitled to voting assistance from “a person of the voter’s choice, other than the

voter’s employer or agent of that employer or officer or agent of the voter’s union.” 52 U.S.C.

§ 10508. The Supremacy Clause of the U.S. Constitution requires preemption of any state

statute that, when enacted, makes compliance with both federal and state law impossible or

“stands as an obstacle to the accomplishment and execution of the full purposes and objectives of

Congress” in enacting Section 208. Oneok, Inc. v. Learjet, Inc., 575 U.S. 373, 377 (2015)

(internal citations omitted). Limitations on voters’ choice of assistors beyond the two exceptions

provided by federal law and secondary requirements on assistors raise preemption concerns.

       Plaintiffs allege that Alabama Senate Bill 1 (SB 1) violates Section 208’s federal voting

assistance guarantee by imposing impermissible burdens on assistors and limiting covered

voters’ choice of assistors. See Compl. ¶ 166, ECF No. 1. Defendants counter that SB 1

incorporates verbatim Section 208’s rights and thus does not criminalize any voting assistance




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that is both required by reason of a voter’s disability and provided by someone of that voter’s

choice. See Defs.’ Mot. Dismiss at 41-43, ECF No. 42. Defendants also contend that Section

208 permits state-law restrictions on who may serve as an assistor beyond the limitations

provided in federal law and therefore does not preempt SB 1. Id. at 43-44. Defendants are

wrong that federal law permits restrictions beyond those provided in Section 208. Accordingly,

this Court should either read SB 1 as limited by Section 208, or find that, to the extent that SB 1

conflicts with Section 208, SB 1 is preempted.

                      FACTUAL AND PROCEDURAL BACKGROUND

        On March 20, 2024, Governor Kay Ivey signed SB1 into law. See Ala. Code § 17-11-4,

as amended March 20, 2024 (Act No. 2024-33). Plaintiffs filed suit challenging various

provisions of SB 1, including provisions that criminalize (1) distributing prefilled absentee ballot

applications, id. § 17-11-4(b)(2); (2) submitting absentee ballot applications that are not one’s

own, unless the applicant is seeking emergency medical treatment within five days before an

election, id. § 17-11-4(c)(2); and (3) knowingly paying or receiving a payment or a gift to

“distribute, order, request, collect, prefill, complete, obtain, or deliver a voter’s absentee ballot

application,” id. §§ 17-11-4(d)(1), (d)(2). Compl. ¶ 2, ECF No. 1. Relevant here, Plaintiffs

allege that those SB 1 provisions violate Section 208 of the Voting Rights Act by prohibiting

voters with disabilities or inability to read or write from receiving assistance from an individual

of their choice when completing, submitting, or mailing their absentee ballot application.

Plaintiffs also allege that the law imposes criminal liability on organizations that seek to assist

voters covered by Section 208. Compl. ¶¶ 107-114, ECF No. 1. On May 3, 2024, Plaintiffs

moved for a preliminary injunction. ECF No. 34. On May 20, 2024, Defendants moved to

dismiss the case. ECF No. 42.




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                                STATUTORY BACKGROUND

        Section 208 of the Voting Rights Act states that “[a]ny voter who requires assistance to

vote by reason of blindness, disability, or inability to read or write may be given assistance by a

person of the voter’s choice, other than the voter’s employer or agent of that employer or officer

or agent of the voter’s union.” 52 U.S.C. § 10508. The Act defines the terms “vote” and

“voting” broadly to encompass “all action necessary to make a vote effective.” Id.

§ 10310(c)(1). This includes, but is not limited to, any “action required by law prerequisite to

voting, casting a ballot, and having such ballot counted properly and included in the appropriate

totals of votes cast.” Id.

        Section 208 was enacted in 1982 because Congress found that “[c]ertain discrete groups

of citizens are unable to exercise their rights to vote without obtaining assistance in voting.” S.

Rep. No. 417, 97th Cong., 2d Sess. 62 (1982) (Senate Report). This need for assistance created

two potential problems. First, some individuals with disabilities chose not to vote rather than

rely on someone whom they did not choose to help them vote. Id. Second, these voters were

“more susceptible than the ordinary voter to having their vote unduly influenced or

manipulated.” Id. To address these challenges, Congress decided that these voters “must be

permitted to have the assistance of a person of their own choice,” with the only exceptions being

agents of the voter’s employer or union. Id. at 62, 64. This solution was “the only way to assure

meaningful voting assistance and to avoid possible intimidation or manipulation of the voter.”

Id. at 62.

                                          ARGUMENT

I.      Section 208 of the Voting Rights Act Guarantees a Voter’s Choice of Assistor
        Subject Only to the Limitations Enumerated by Congress.

        A.       Section 208’s limited exceptions are exclusive.



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       Section 208’s expansive right to assistance contains only two exceptions: persons with

disabilities or inability to read or write needing help to vote cannot receive assistance from

someone affiliated with (1) their employer or (2) their union. See 52 U.S.C. § 10508.

Defendants posit that the inclusion of Section 208’s text in Ala. Code § 17-11-4(e) constitutes

“the Legislature’s express adoption of federal law,” and that this provision of SB1 “exempts

from criminal liability voting assistance that is both required by reason of a voter’s disability and

provided by someone of that voter’s choice.” Defs.’ Mot. at 42, 43 n.22, ECF No. 42. To the

extent that the Court agrees with this reading, then there is no conflict, as SB1 would impose no

additional restrictions on Section 208’s protections.

       But Defendants go further. They argue that Congress’s use of an indefinite article in

Section 208—guaranteeing voters “assistance by a person of the voter’s choice”— and its

enumerated exceptions permit Alabama to impose additional restrictions on Section 208’s right

to assistance. Defs.’ Mot. at 43, ECF No. 42. Not so.

       First, an indefinite article, by its very definition, “[i]ndicat[es] indefiniteness” and can

reasonably mean “one, some, any” member of the identified class. Oxford Eng. Dictionary (3rd

ed. 2008, modified version published online 2023). Contemporary dictionaries also recognized

both usages. See Citizens for Resp. & Ethics in Wash. v. Fed. Election Comm’n, 971 F.3d 340,

354-55 (D.C. Cir. 2020) (“‘A’ means ‘one’ or ‘any’ . . . [but] is more often used in the sense of

‘any.’” (citing A, Black’s Law Dictionary (5th ed. 1979))). And, consistent with both the

definition of “a” and its common usage, courts routinely find that “a” serves as a synonym for

“any.” See, e.g., United States v. Alabama, 778 F.3d 926, 932 (11th Cir. 2015) (“The plain

meaning of the term ‘an election’ is ‘any election.’”) (quoting 52 U.S.C. § 20302(a)(8)(A));




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United States v. Naranjo, 259 F.3d 379, 382 (5th Cir. 2001) (“‘Such a violation’ . . . refers to . . .

any violation”).

       Defendants’ reading also overlooks Section 208’s weightiest command: an assistor must

reflect “the voter’s choice.” 52 U.S.C. § 10508. Nothing in Section 208’s plain language,

including the article used to modify the word “person,” permits states to impose exceptions to

Section 208 that Congress neither contemplated nor approved, and states may not substitute their

judgment for Congress’s. Nor may they limit or override a voter’s choice of assistor so long as

the chosen assistor is not an employer or union representative or an agent thereof. See id.

Section 208’s use of “a” to modify “person” does not obviate Section 208’s essential guarantee,

nor is it evidence of an “intent by Congress to allow states to restrict a federally created right, for

Congress does not ‘hide elephants in mouseholes.’” Disability Rts. N.C. v. N.C. State Bd. of

Elections, 602 F. Supp. 3d 872, 878 (E.D.N.C. 2022) (quoting Whitman v. Am. Trucking Ass’ns,

Inc., 531 U.S. 457, 468 (2001)).

       Second, Defendants place the wrong significance on Section 208’s enumerated

exceptions in arguing that its exclusions of unions and employers also show “that Congress did

not intend to give the voter boundless options.” Defs.’ Mot. at 43, ECF No. 42. The presence of

two discrete exceptions means the opposite: a state may not impose more restrictions on voter

assistance in addition to those enumerated exceptions, because “[w]here Congress explicitly

enumerates certain exceptions to a general prohibition, additional exceptions are not to be

implied, in the absence of evidence of a contrary legislative intent.” Hillman v. Maretta, 569

U.S. 483, 496 (2013) (quoting Andrus v. Glover Constr. Co., 446 U.S. 608, 616-17 (1980))

(alterations in original); see also McCarthan v. Dir. of Goodwill Indus.-Suncoast, Inc., 851 F.3d

1076, 1090 (11th Cir. 2017). No contrary intent exists here. Quite the opposite—Congress




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knew that voters with disabilities faced higher risks of exploitation, yet it designed Section 208

without giving States leeway to further regulate who could assist these voters. The Senate

Judiciary Committee’s Report confirms Congress’s intent that covered voters must be allowed

assistance “from a person of their own choosing, with two exceptions” only. S. Rep. No. 97-417,

at 2.

        Finally, Defendants’ textual analysis principally relies on a single outlier case from

outside this district and this circuit, Priorities USA v. Nessel, 628 F. Supp. 3d 716 (E.D. Mich.

2022), that cannot be reconciled with Section 208’s text and plainly contradicts controlling

Eleventh Circuit precedent on examining Congress’s word choice. See Alabama, 778 F.3d at

933 (“We have repeatedly found . . . that the context of a statute required us to read ‘a’ or ‘an’ to

mean ‘any’ rather than ‘one.’”) (collecting cases). Nessel flouts the settled canon that enumerated

statutory exceptions are presumed to be exclusive and overlooks the importance of voter choice

as Congress’s chosen remedy. Compare Nessel, 628 F. Supp. 3d at 732-33 (relying on

dictionary definition of “a” to interpret Section 208), with Niz-Chavez v. Garland, 141 S. Ct.

1474, 1481 (2021) (explaining that courts must look at the statutory context to determine the

meaning of “a”). The United States has found no case relying on Nessel’s flawed analysis, and,

as explained in the next section, other courts have consistently rejected States’ attempts to

narrow Section 208’s protections. This Court should refrain from adopting it here.

        B.     States may not restrict Section 208’s guarantees while purporting to further
               those guarantees.

        Defendants also argue that Section 208 allows states to restrict voters’ choice of assistors

to “limit the influence of paid operatives.” Defs.’ Mot. at 44, ECF No. 42. Defendants note that

“by excluding unions and employers, Congress recognized that certain people might unduly

influence a disabled voter’s choice.” Id. That is true. But Defendants ignore Congress’s chosen



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remedy for that concern: a guarantee that voters may choose their assistor. As the Senate Report

explains:

       To limit the risks of discrimination against voters in these specified groups and
       avoid denial or infringement of their right to vote, the Committee has concluded
       that they must be permitted to have the assistance of a person of their own choice.
       The Committee concluded that this is the only way to assure meaningful voting
       assistance and to avoid possible intimidation or manipulation of the voter. To do
       otherwise would deny these voters the same opportunity to vote enjoyed by all
       citizens.

S. Rep. No. 97-417, at 62.

       Congress’s concern for voters cannot serve as the basis for gutting the very means

Congress chose to address that issue. Alabama may not substitute its judgment for that of

Congress or rewrite Section 208. See Hughes v. Talen Energy Mktg., LLC, 578 U.S. 150, 164

(2016) (explaining that “[s]tates may not seek to achieve ends, however legitimate, through . . .

means that intrude on” federal power). There is thus no room for a state’s “reasonabl[e]

determin[ation]” of who “might exert undue influence” on voters covered by Section 208 beyond

Congress’s enumerated exceptions. Defs.’ Mot. at 35, ECF No. 42. In this context, “Congress

contemplated the vulnerability of disabled voters when it discussed providing unrestricted choice

of assistants and provided two explicitly excluded groups. States are not permitted to limit the

right to assistance further.” Disability Rts. N.C. v. N.C. State Bd. of Elections, No. 5:21-CV-361,

2022 WL 2678884, at *5 (E.D.N.C. July 11, 2022).

II.    Section 208 of the Voting Rights Act Preempts State Laws That Interfere with Its
       Voting Assistance Guarantee, Including Those Targeting Assistors.

       “[S]tate law is naturally preempted to the extent of any conflict with a federal statute.”

Crosby v. Nat’l Foreign Trade Council, 530 U.S. 363, 372 (2000). Conflict preemption exists

when “‘compliance with both state and federal law is impossible,’ or where ‘the state law stands

as an obstacle to the accomplishment and execution of the full purposes and objectives of



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Congress.’” Oneok, 575 U.S. at 377 (citing California v. ARC America Corp., 490 U.S. 93, 100-

101 (1989)); see also Carey v. Wisconsin Elections Comm’n, 624 F. Supp. 3d 1020, 1032 (W.D.

Wis. 2022) (citations omitted). Congressional intent “is the ‘ultimate touchstone’” when

determining whether a federal law preempts a state one. Gallardo by & through Vassallo v.

Dudek, 963 F.3d 1167, 1175 (11th Cir. 2020) (quoting Medtronic, Inc. v. Lohr, 518 U.S. 470,

485 (1996)).

       Congress enacted Section 208 to provide “unfettered access” to the polls for voters

covered by Section 208’s guarantees. Disability Rts. Miss. v. Fitch, 684 F. Supp. 3d 517, 518

(S.D. Miss. 2023). To accomplish this goal, Congress concluded that these specified voters must

be allowed to receive assistance from a person of their choosing. S. Rep. 97-417, at 62.

Congress found that this broad protection is “the only way to assure meaningful voting

assistance” because “many such voters may feel apprehensive about casting a ballot in the

presence of, or may be misled by, someone other than a person of their own choice.” Id.

       Laws regulating voter assistance obstruct Congress’s objectives in enacting Section 208,

and several courts have found state laws going beyond Section 208’s restrictions to be

impermissible limitations on voter assistance. See, e.g., OCA-Greater Hous. v. Texas, 867 F.3d

604, 614-15 (5th Cir. 2017) (concluding that a limitation on assistance “beyond the ballot box”—

even with “near-unfettered choice of assistance inside the ballot box”—“impermissibly narrows

the right guaranteed by Section 208” (emphasis in original)); see also 52 U.S.C. § 10310(c)(1)

(defining “vote” and “voting” under the Act as “all action necessary to make a vote effective”);

Carey, 624 F. Supp. 3d at 1032 (enjoining restriction on absentee ballot return assistance); OCA-

Greater Hous. v. Texas, No. 1:15-CV-679, 2022 WL 2019295, at *3 (W.D. Tex. June 6, 2022)

(modifying injunction to enjoin new state law “limiting the activities eligible for assistance to



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‘marking or reading the ballot’” (citation omitted)). Determining whether a state law is

preempted by federal law is “a matter of judgment, to be informed by examining the federal

statute as a whole and identifying its purpose and intended effects.” Crosby, 530 U.S. at 373.

Taken as a whole, and given its purpose and intended effects, Section 208 preempts SB1 to the

extent that the state law prevents voters with disabilities or inability to read or write from

receiving assistance from an individual of their choice when completing, submitting, or mailing

their absentee ballot application.

                                          CONCLUSION

       The United States respectfully submits this Statement of Interest to assist the Court in

evaluating Plaintiffs’ claim under Section 208 of the Voting Rights Act.


Dated: June 10, 2024


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                                CERTIFICATE OF SERVICE

       I hereby certify that, on June 10, 2024, I electronically filed the foregoing with the Clerk

of the Court using the CM/ECF system and caused to be served by email a copy of this filing to

counsel of record.


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